                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION


 IN RE:                                           Chapter 7

 CLIFTON GREEN,                                   Bk. No. 21-81181-CRJ-7

          Debtor.


 CLIFTON GREEN,                                   Adv. Case No. 21-80105-CRJ

          Plaintiff,

 v.

 THE HEALTHCARE AUTHORITY OF THE
 CITY OF HUNTSVILLE, and
 MEDICREDIT, INC.,

            Defendants.


DEFENDANT THE HEALTHCARE AUTHORITY OF THE CITY OF HUNTSVILLE’S
  ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S ADVERSARIAL
                         COMPLAINT

       Defendant, The Healthcare Authority of the City of Huntsville answers plaintiff's

Adversary Complaint (“Complaint”) as follows:

                                          COMPLAINT

No response is required to plaintiff’s opening paragraph.

                            Parties, Jurisdiction, and Nature of Action

       1.       Admitted.

       2.       Admitted.

       3.       Admitted.




Case 21-80105-CRJ           Doc 6   Filed 10/18/21 Entered 10/18/21 09:36:57   Desc Main
                                    Document      Page 1 of 4
        4.      The allegations in paragraph 4 of the complaint contain conclusions of law to which

no response is required. To the extent an answer is required, denied.

        5.      This defendant admits the allegations in the first paragraph. In response, to the

second paragraph, this defendant admits that certain damages are allowable under 11 U.S.C. § 362

for violations of the automatic stay. Except as expressly admitted, the allegations in paragraph 5

of the Complaint are denied.

                            Claim — Violation of the Automatic Stay

        6.      This defendant incorporates each and every response to the preceding paragraphs

as if set forth herein.

        7.      Admitted.

        8.      Admitted.

        9.      Admitted.

        10.     Admitted.

        11.     Admitted.

        12.     Admitted.

        13.     This defendant is without sufficient knowledge or information to admit or deny the

allegations in paragraph 13 of the Complaint. Accordingly, such allegations are denied.

        14.     Denied.

        15.     This defendant admits that certain damages are allowable under 11 U.S.C. § 362

for violations of the automatic stay. This defendant denies that it willfully and intentionally

violated the automatic stay. This defendant denies that plaintiff is entitled to punitive damages.

This defendant denies that it lacks the proper systems and procedures to prevent automatic stay

violations. This defendant likewise denies that it disregards federal law and the orders of this Court.



                                                  2

Case 21-80105-CRJ           Doc 6   Filed 10/18/21 Entered 10/18/21 09:36:57              Desc Main
                                    Document      Page 2 of 4
       16.     This defendant is without sufficient knowledge or information to admit or deny the

allegations of paragraph 16 of the Complaint. Accordingly, all such allegations are denied.

       In response to the request for relief, this defendant states that to the extent the Court

determines that plaintiff is entitled to recover for defendants’ violation of the automatic stay,

plaintiff’s damages should be limited to the reasonable attorneys’ fees incurred in this adversary

proceeding.

                                     AFFIRMATIVE DEFENSES

       Upon information and belief and subject to further investigation and discovery, this

defendant alleges the following defenses without assuming the burden of proof where such burden

is otherwise on plaintiff:

                                 FIRST AFFIRMATIVE DEFENSE

       Plaintiff has failed to state a claim upon which relief can be granted.

                               SECOND AFFIRMATIVE DEFENSE

       Plaintiff’s claims of physical injury are barred by the principles of Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579 (1993) and its prodigy. This defendant demands strict medical

proof of plaintiff’s claims of medical injury.

                                THIRD AFFIRMATIVE DEFENSE

       This defendant reserves the right to assert additional defenses upon further particularization

of plaintiff's claims and upon discovery of further information concerning plaintiff's alleged claim

and upon the development of other pertinent information.

       Respectfully submitted, this the 18th day of October, 2021.




                                                 3

Case 21-80105-CRJ            Doc 6   Filed 10/18/21 Entered 10/18/21 09:36:57           Desc Main
                                     Document      Page 3 of 4
                                                   S/Andrew M. Townsley
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                                                   Attorney for Defendant The Healthcare
                                                   Authority of the City of Huntsville


                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing has been filed this 18th day of October 2021, via
CM/ECF, which will electronically notify all counsel of record. I do certify that a copy of the
foregoing was emailed to Plaintiff’s counsel at the following:


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                                                   S/Andrew M. Townsley
                                                   Andrew M. Townsley




                                              4

Case 21-80105-CRJ       Doc 6    Filed 10/18/21 Entered 10/18/21 09:36:57          Desc Main
                                 Document      Page 4 of 4
